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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



   UNITED STATES OF AMERICA
                                                      21-002-06 (DRD)
             Plaintiff
                                                          CRIMINAL NO.: 12-483 (JAF)
                  v.

   JUAN ALBERTO MARQUEZ AVILA (06)

           Defendant



                           MOTION FOR LAFLER/FRYE HEARING

TO THE HONORABLE COURT:

       COMES NOW, defendant Juan Alberto Marquez Avila (06) represented by the undersigned

attorney and hereby respectfully STATES and PRAYS as follows:

        1. On August 3rd, 2021, the Government extended a plea offer to Mr. Marquez Avila. At

that time, Mr. Marquez was incarcerated in the Tallahatchie County Correctional center in

Mississippi, and the plea offer was communicated to him by letter dated August 16, 2021.

       2. Several VTC conferences took place after that in order to discuss the offer, and other

defense related matters.

       3. Notwithstanding, and despite our best efforts at communicating to our client the

advantages afforded by entering a plea agreement under the terms offered by the Government, we

have come to a standstill in following through with an actual change of plea and execution of the

final plea agreement with the Government.




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        4. Under these circumstances, the undersigned strongly feels a Lafler/Frye hearing is in

order to discuss on the record the terms and conditions of the plea offer, and Mr. Marquez’s

understanding of same.

        5. Mr. Marquez Avila is presently incarcerated at MDC Guaynabo.

        6. We would request such hearing be scheduled in person, rather than by VTC.

        WHEREFORE, it is respectfully requested from this Honorable Court to schedule a hearing

as requested herein.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 17th day of May, 2022.

        CERTIFICATE OF SERVICE:I hereby certify that on this same date, I electronically filed

the foregoing with the Clerk of the Court, using the CM/ECF system, which will send notification of

such filing to all counsel of record. .



                                                            S/JOSE LUIS NOVAS DEBIÉN
                                                            USDC-PR #213905
                                                            PMB 382 Calaf 400
                                                            San Juan, Puerto Rico 00918
                                                            Tel.: 787-754-8300
                                                            E-mail:jnovas1@gmail.com




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